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                              Vacant Land Application
Please fill out and return this Application if you are interested in purchasing vacant land from
the Lorain County Land Bank. Vacant land may be available for purchase whether it is already
a vacant lot or will become one after structure(s) are demolished and program guidelines are
fulfilled. This Application will not be processed if not completed in its entirety.

PROPERTY INFORMATION

Address(es):

Parcel #(s):
Please describe the property in its existing condition:




Your Bid Amount for property:

APPLICANT INFORMATION

Name of Applicant:

Business Name (if any):

Mailing Address:

City, Stat e, Zip:                                                 Phone:


Email Address:


YOU ARE APPLYING FOR THIS PROPERTY TO:

□       Expand an adjacent parcel                    □ Other: please explain

□       Potential redevelopment*

□       Non-profit use: Please explain
*If you wish to build on the vacant land, please contact the Land Bank at (440) 328-2336 before
further completing this Application.

Do you expect to invest any money to improve this vacant land?                 □ Yes □ No



                                      Please Return this Application to:
                       Lorain County Land Bank 226 Middle Avenue, 5th Fl, Elyria, OH 44035
                     Phone: 440 328-2336, Fax: 440 328-2349, Email: JLMiller@loraincounty.us




                                              Vacant Land Application
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ELIGIBILITY REVIEW

Do you own other real estate in Lorain County?                                           □ Yes   □ No

If yes, please attach a list of all parcels and addresses, including those owned by any companies you
control.

Do you owe delinquent property taxes? (Under your name or                                □ Yes □ No
your business name)

Have you ever been cited/ appeared in court for housing code
violations?
                                                                                         □ Yes □ No

Do you have delinquent water accounts (including tenant-owed
accounts)?                                                                               □ Yes □ No

NEXT STEPS AND IMPORTANT DETAILS

Due to high volume, you should expect a response from the Land Bank in 60 to 90 days
from application receipt date. You may be asked to enter into a purchase agreement at
that time.

All qualified applicants are eligible to purchase vacant land under the Land Bank's
program. Properties are considered on a case-by-case basis and are subject to all
program disposition requirements. Due to the nature of program guidelines businesses
and/or LLCs may not be considered eligible buyers.

If there is more than one qualified applicant for a property, buyer eligibility will be
determined by program guidelines. Buyer may be asked to pay a portion of the costs of a
boundary survey or other engineering costs.

The Land Bank reserves the right to sell vacant land for its fair market value, determined
by its agents or for the value required by program guidelines. Please DO NOT send
money with this Application.

APPLICANT'S COMMITMENT
I understand that this Application is not a contract and that any proposed sale must comply
with the Land Bank's Policies & Procedures to proceed. Everything written in this application
is true to the best of my knowledge.

Signature of Applicant:                                            Date:




                                         Questions?
       Please call our office at (440) 328-2336 or email JLMiller@loraincounty.us

                                    Please Return this Application to:
                     Lorain County Land Bank 226 Middle Avenue, 5th Fl, Elyria, OH 44035
                    Phone: 440 328-2336, Fax: 440 328-2349, Email: JLMiller@loraincounty.us


                                             Vacant Land Application
